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vS'£79'669 ~
LIGaX HOW DOSERT 1310019379 6000:3NYN ANI SPOETOCOTT:OI ON! TOGOTZ-033 ISPEPLSTOODOTZO-#IOVUL XLI'99S SLNIWIAYd'HOS3O AULN] OD TOSOTZ‘ALVO IS30 S66Z00000T'0I NtO NYVIWISAUCSINYN OF DINO 1207/10/60 110309
HSOd3G 00°000'0Z 668YEL YIBWNN Cl LISOd3Q 170Z/TO/60 dims
DNINCON! JIM OO'PBE'SZ '=9YO ELESONODDODN-IV/SN ZEGT-PSTES IM NAIND NVO NOLLWYOdUOD YSLOWLITIS=4NGN 'J3Y TSSZ OZ T9°01" NO/WNIHD 3NOZ 3QWYL C1 “09 (N3INVIX) SNXATd 70/8 BOTO/WN “WSN YNVE IBSH “WIA LHD SdIHD TZ0¢/To/60 = LIdauD
LIGIYD HOY EOPTZ'Z = — .OYLD3T39000'3WVN ONI ZS9ITSOONNT-O! GNI ZOGOTZ:GI9 SSShOPIZOODOTZO:WADVUL XL97D3S SLNAINAVdXOSIO AULNA OD TOSCTZ:ALVd 2S3G ZEOBETTOSEI SIO "9 SSN3390 WAVCAWYN OD DINO 1202/20/60 = L103
ONIINDON! FMM O9'OPP'S —SOND00000- JV/SN LEBT-PSTES 1M AI3HD AYO NOLLWHOdUCO AFLOULIITI=INB/BLI/IAN JSWHD 74TY VISAVIVINENYNAd OOGTT’b ASWHd QHE NOS LINDHIO TaVi :0/a GSOOGNTZO/'¥'N INVAILID “WIA LIGAND IMIMOIA 120Z/Z0/60 L103
LUS0d30 S2’Eb’ST 6EEPEL HSMN Cl LISOdSC Lz0z/eu/6u disu
LIGIYD HOV OO'ERET —) NALOYLD313ZTOO"AINYN GNI OBPILSIdELSE'CI GNI 2060TZ:033 STOZ(PEZDOOOTITWIOVYL X19°039S LIA duOD'NDSId AYLNAOD =: WO. 98430 LePrvEToEz‘a O1NO YOO SAXSTCSINYN OD DINO 1207/20/60 = LIG34D
LISOdIO BS SBL‘bE GERSEL YANN Gl SOd30 1Z0Z/20/60 Jnso
LIGzU Hv S6'S9T'T — 284"0D4920I}9213:3IYN ON] SEDEPTPT PO! ONT GOBOTZ-033 TEZSSSPTOOOOTSO-#3IVUL OI3DIS LNZWAVd-HISIO ANLNY OD GDEDTZ3LYO ISIO SéZZESOIDZ:Ol YO OWd SSLAVE"3VWN 02 DINO 1702/60/60 LIGA
AGRO HOW 00006 «= 4193 13L000-3WYN NI YAVdTSZEETZONT-CI GNI OTSOTZ:dagd ZECSOCLSOOOOSZO:YIDVELL XLI-93S LIWIY/Od?YIS3G AULNA OO OT d3S:3L¥G IS3G TEIEGBTZST-O! DINO S90 G33HNDOT:IWYN 09 SIWO TZ02/0T/60 —-L1daxD
LIG3R2"HW CO'EZL'S } MALOULISTSZTOO-JINYN GNI SZEIZSIdELSE-CIONI ETGNTZ-G339 SSSSOG0ZOD0OTTTAIOVUL XIODIS Ld duOTISA AMLNSOD =: LV0 3540 LerrPeTsez‘dl 0 dYOD SNXIIWIWYN OD SINO TZ0Z/ET/60 =. LId3D
DNIWWOONI FHIM 00'S0D'B ‘=U ELBSOODOND0N-2¥/SN LEET-PSTES IM YS3UI AVC NOILVYOdYOS X3L0UI313=JNEN -AdY TSSZPOZTS:GP” NO/YNIHD 3NOZ 30VYL CLT “OO (N3INWIX} SNX31d 70/8 SOTO/"¥'N “VSN NYE DESH ‘VIA LIGSYD SdH Tz02/ST/60 = Lida
USOd30 OT SOT'P 668PEL YABWON Cl LSOdad TZ0z/ST/60 ansa
USOda0 DO'L76°E 66RYEL HABWAN Ol LSOda0 Tz02z/ZT/60 = ssa
LIGAUD HIV ZZ'0@Z'E —) WALOWLDITSZTOD:AINVN ANI TLQLESLGEZSEVOLON! OZGOTZ:093 OLEZTSOZOOOOTTEHIIVYL X19D3S LNd dYOD'UDSIC AMLNIOD = ‘ALWG. IS3Q LeyvETGEZ:CI DINO d¥OD SNX37d:BWYN OD OO Tz02/02/60 = Lidayd
Hau HIY ZO'TPZ'S8 ida VOREIOKI05 48}01392(3-3WYN ONI ZOVGN] O%GOTZ:'093 PREZTSOZOOOOTET-HSIVUL GOID3S AVd SOVYL'YISSO AMLNAOD —‘3L¥G.95390 SBEEPETSZT-O1 IYO SW INAOITILIZIWN OD OO Tz07/0z/60 110340
lisadaq 00'S63'0z 668EZ YAGINNN Ol LISOdzd 1202/02/60 ansa
ONIWOINI SUM BS'60Z'B  “VE¥/SNI/ZZETOT ‘TLSTOT SZOANI ‘434 ‘WN NYE INd S60000EPO/vaY ‘€90 INI SSIDOIONH3IL NOULY Z59PZ6590T/:5UO SN -BOErY HO NOUNY NOLL¥IDOSS¥ TYNOLLWN ANYS INd ‘0/9 LIGIYD H3A4SNVHL O08 T202/27/60 = LIGauD
USOd30 Op'aTs’e G66BEL HISWNN Ol LISOd3q 1202/£2/60 dnsa
ONINOINISYIM OS YSE'PST /=9¥O EZISODOD0ODI-OV/SN LE6T-LSTES IM NA3YD NWO NOWWYOdYOD 13.10819313=4NGN #J4u TSSZ0Z 79:01" NO/YNIHD INOZ JOVYL O13 “OD (NIWWIX) SNXFId (0/8 BOTO/‘W'N ‘YSN INVE IESH “WIA LGU SdIHD TZOz/Ez/60 LIGAND
LSOd30 62'080'8L 668PEL UIGWNN AI LISOdI TZ0%/7/60 dlsq
LIG3YI HOY OT'BZT'S =) MALOWITTIIZTOO-SINYN GNI QBOBLIIAELSECI GNI LZG0TZ0F9 EQBBBSZZOCOOTIT-HIOVYL XL0'99S AW d¥OI:Y9SIG AULNIOD = :3LV0 ISAC Ze} yPETBEZ:OI WO “ddOD SNX31d'INVN OD UO Tz0z/ez/60 = LIGAND
LUGIYD HOW Z7°2Sb‘7HT ML WONeIOUIOS 4310NIT}7:3NVN ONI SGHQNI £260T2:093 TSBBRSZZOOOOTTE:KIIVHL GID:DAS Ad JOWHLIYISIG AVLNIOI = “FLV. JSF SBEEDSTSZTIOI DO SINZ SNAQ313 -JWVN OF DINO T20Z/27/60 = LIGSUD
USOd30 Ob TSTTZ 668PEL HAGINNN Cl LISOd3d 1207/22/60 drisa
DNINOINE IUIM OO'OST'EE /=9¥O E£BSODONTODN-DV/SN ZEGE-HSTES IM XIIYO NVO NOILWYOdYOD NALOWLIS13=4NGN *43Y TSSZPOZT9:0!" NI/WNIHD INOZ JOVUL O11 "0D (NAWVIX) SNXAId (0/8 BOTO/ WN ‘VSN NYE DESH “VIA 11039 SdIHD 1202/87/60 —Lid3uD
AIGA HOY OO'S60'E = due) 4970115913-3WN ONI 9205 Y230.923]3-C) GNI OEGOTZ:099 GILSL9LSPPA2TTC:RIQVUL CII-DISATHIIM HIVUISIO AWN OD =} FLV ISB 999ZTZOTST‘AI ONO «= SDINONLD3TANITYS-3INWN 03 INO T20z/0e/60 =—1LId3HD
adAL = nowy uonduzseg ateg Busog sjimeq

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Qld 03H 60°Z£S-
QIvd 9O3HD TES9S-
Olvd-03HD 00'PBz-
Givd903H9 9°TeS-
= INFIWAWd HOY OL TTL’72-

LNIWAYd HOV Z€°9S6'T-
LN3WAVd HOV E7S6S‘T-
Qld 93H) O0°68E9T- :
QIVd XD3HD 72°966-
dlvd ADAH £7°£59"r-
Ov AD3HD STZZzS-
LN3INAVd HOV 02°820't-
Qlvd AD3HD OL 9Et-
LNIWAVd HOV 00°E6E'T-
ANBIWAYd HOV OO'TTE’Z-
ANAMIAYd HOV 00°966'6-

EEL NOAH
622 1D3HD
pele ND3HD
SOL¥ XD3HD
(BOESsHHH ) ElNWAAN OL GPZBTZLEOES JUEWAeY HOV aU|UG

SNIODLNO FHIAA ZEROREOT- FZE “NUL TZI¥O °3000 LN3MD 3434 SN -ZPTEZ AO ALIO VAOHYTAO Od LN3DV S¥ 971 “TIOUAVd WODAWd ‘3/¥ UAdSNVYL SHIM OLLSIINOO INNNO

(EPGEMHHY ) PluuaqseW OL SZ7STE9EDES JUaWAed HOY BUD
(SOOSHHHHHT) D3I OL EGETE9EDES JUeWAed HOY ouljUO

PELb XD3HD

Lb YAH

22/60 £SLb 3DIHD

72/60 LbLy XOAHD

(TRSOMMHHHT ) CUlDaINSUl OL OLTEZZREOES JUeWAed HOW aullUD
OELb XD3HD

(BOESHHHHH) euNWAAN OL FE9POREDES JUaWAeY HY SUID
(TRSOHHHHHH ) OAD@INSUY O1 ZEETOREDES JUsWAed HOV auyUD
(TBSOHHHHHY) O1199)NSU! 01 OGPEZZEOES JUaWAeW HOY SUD

DNIODLNO JUIM OO'S9B'ZT- ( /ESBATTSTAGOEQAOISZ89/:N3d 8D WOCONIX G3LINN 8¥Z Ta WYHONIWUIG 31d ANVE SGAOTI 3/¥ Ya4dSNVUL JUIM TWNOLLYNYALN! 3NIINO

ANaad HOV 66 LLb'P-
Qivd 493HD 0o'SE-
IN3WAYd HOV 06 Eve’6S-
ANBIWAWd HOV 00°SZZ'T-
ld" 34H) 99°00S-
LAN3MIAWd HOV 00°8¥2‘T-
ANAWAYd HOW 00°0Z8‘T-

430 HOV E'67C'S-
dlvd DSH Sf99-
lvd" 9939 92°S99‘ET-

ANBINAVd HOV E‘E66'T-
INBWAYd HOW €9°TEO?-
Qivd1D3H3 #9°R6T-
QtWdD3HO P9°Sb2‘T-
Qlvd BIH 9ORZT-
INAWAWd HOW 9S°68¢-
LNIWAYd HOW 00’700’E-
AN3WAYd HOY 00°pZS‘T-
Qld YD3HD #S°LBS-
ANSWAWd HOW 79°6T6‘Z-
Glvd XOFHD 00°28E-
Cl'vd“W9D3H3 OZ*bTB-
dlvd03H3 0S°0ES-
LNGIWAVd HOW 00°66e'2-
Glvd NOSHD TL0S6'z-

LIGdd HOV 6E892’2-
Olvd 393H) 98"98z-
Alv¥d 9O3HD gO"EEs’p-
GI¥d"D3HD ZT687'7-

LNaWAVd HOY Ze 7S6-
ANSWAVd HIV 00°ELT'Z-
lvd ¥O3HO SzZ°Szz'T-
ANAWAVd HOW O0°26T‘E-
AN3WAVd HOV 90°E0'T-
DNIODLNO JuIM ES'TE0‘T-
adAy qunowy

2760T2:033 SS9VE9STOOOOTED:HAIVUL OD333S THE SdN:4IS30 AYLNI OD

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343 LTGETTETOOOOTE0‘AIOVEL 93:99S Wd YTOP'YDSAC AULN3 OD TZET6O:ALVO ISIC SSNIAWLN3S"A1 SIO

Sd N:ZINYN 0D SIO
6ELY XDIHD

(OGL Ese} UDLY OL TOPBSOPDES IUSWAeY HOW aUIUO
(QOESHHHHHHT) EANWAAN) OL SBZSIGEDES WWaWAed HOW Sul|UO
TSZ¥ YDaHD

(TSSOHHHHIN ) 0.N3MSU] 01 SFESETPOES WaWAed HOY aul|UD
(SZESHHH ) J2I4aNg OL OTSSETROES JUaWAed HOY SBUyUQ

SU) ay ANUSS:3NYN OD DINO
OSLb 1D3HD

SELp 3D3HD

(EPGESHHHT ) PIWIEQIEW OL LOSPIEPOES JUAWAed HOY aU"
(Q00SHHHHH ) D341 OL STEBEEPDES JUaWAeg HOW BUD

ZSLb 1DAHD

6bLp ADIHD

SSLb D3HD

(EvOEMHHT ) PILUACIEW OL OZZOSPPOES lUaWAed Hy BU
(oosTHwHHHH ) CAEL OL B6POSPPOES lUaWAeY HI aul]
(TesoHHHHiH ) O.NI9/NSU 0) SZO9SPPOES JWeWAeY HOV 2ulUO
aS2~ XDGHD

(Eve Saas ) OUUPAH O1 O6TEZPPOES ]UaAeY HOY SUITUO,
T9Zb YD3HD

Srp 19H

SpZb XD3HD

(TRSoHHHHHIY ) Onoajnsuy OL EEQZTOPOES JUaWARY HOV aUllUG
9Lb HDIHD

‘$d NAINVN 09 DINO
9S/% AHI

O9£¢% MDSHD

£627 YOIHD
(TESSHHHIA ) O>9/NSU] 01 BBEZOGPOES WeWAed HOV SUIILO
(GOS THBHHH ) OAIe] OL 7SR¢¢ePOES lUeWAeg HOY sUlIUO
E9¢7 YOFHD

(BOCSHHHHH ) EANWOAN O1 /B9pSBPOES JUaWAeg HOV SUIUD
(EvacHHHH ) PluueqIeW OL ZSrySBrOES JUaLWAed HOY SUI

*ALvd 284d 9€POL0ESTZ'l SIND

*ALVG 9830 SEvOZ0E6TZ-dl SIO

a 9BELTELBSO0000000 *DUO SN LOT ZETLET JO AUWMAN SNEINMCD T AE LOD¥ SNB UND NOIHOS '3/¥ HIdSNVUL JUIM TWNOLLYNYILNI INIINO

yond sosaq

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T202/TZ/60
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T20t/Tz/60
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T%02/T2/60
1202/22/60
1202/22/60
1202/22/60
1202/22/60
T20z/Z2/60
Te0z/ze2/60
1202/22/60
1207/22/60
TZ0t/22/60
T20z/z2/60
1202/22/60
T20Z/€2/60
T207/EZ/60
TzOz/P2/60
Tz0z/p2/60
T20%/p2/60
T202/v2/60
1zZ02/22/60
1202/22/60
1202/22/60
1207/27/60
1207/42/60
Tz07/82/60
1207/82/60
1202/82/60
1207/82/60
1207/87/60
T20%/82/60
1207/82/60
Tz02¢/s¢/60
TZ07/87/60
170¢/67/60
Tz0¢/6z/60
Tz0¢/62/60
Tz0¢/6z/60
Tz0z/62/60
TZ0Z/O0€/60
T7z07/0€/60
Teoz/oe/6E0
T20z/0€/60
T202/0€/60
Tz07/0€/60
Tz0z/0€/60
1202/0€/60
ajeq 8unsog

3DAHD
24D3HD
1D3HI
D3HD
11a3d
11430
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433H3
930
L830
i830
33H
193d
D3aHD
D4AHD
¢DaHD
Alaa
423HD
183d
D3HD
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ANZINAVd HOW SP PEE-

AN3WAVd HOV S2’0z9-

ANaWAYd HOV $9°9r0’2-
Gl¥d NIH? LT LTE'-

(SOOSHHHHHT } D351 01 8O9T6PZOES JUaUAed HIV SUL TZ0Z/OT/60
(TeacowHHy ) o.29/NSU] OL SIGELPZOES UaWAed HIV Aul|UQ 120Z/OT/ED
(Speci | PluUeqreW OL BSISOPZOES IUaWARd HOY OLIGO TZ02/0T/60
LU£¢ XD3HD TZ0Z/OT/60

AIGA” HOV STEL?’S- 3a LPREERLTOOOOTEO:#IOVUL 9973S Wd ATOP:YOSAd AULNG OD TZ6060:3.LV ISAC SSNIAWLNZS:OI IYO = Su] ABN ANUAS:3WIYN OD DIO Tz0z/OT/60

CI¥d XO3HD OT'P6Z-
Qlvd XJSH OS S69-
Qtvd"y93H3 $6°978"9-
Qtvd 93H €9°7269°E-
Qivd DAH 96'PLa-
Qivd 133H2 O0'Or-
QI¥d™93HI S2°SpT-
atvd™993H3 0S°6r6-
Ol¥d9DIHI vE*62-
Ofvd MOSHI €2°96T-
dl¥d"¥33H3 O0°066-
ANIWAVd HOW 00°78S‘S-
Alvd-¥D3HO BO"S-
ANIWAVd HOW OS°TEL’S-
dtvdDaHI OSTS-
divd YOSHO 6S°90E'T-

€69¢ XDIHD TZ0Z/OT/60

90Z¢ YOSHI TZ0Z/ET/60

ETL IOBHD T202/ET/60

G@Lb XOIHD 1202/ET/60

bT£t XISHD 1202/ET/60.

£89% DSHD 1702/ET/60

OZZb NOBHD 1202Z/ET/60

GOL XDAHD T20Z/rT/60

ZZLv XQIHD T202/pT/60

€ZL~ XOSHD 1202/¥T/60

pT/60 822¥ XD3HD Tz0z/PT/60

(TesonsHsiy” ) 04399/NSU] OL SPGTBBZOES IUautAed HY SUl|UO 120Z/PT/60
OTL? NDIHD TZOZ/bT/E0

(Tesossitiiy”) on9a/nsu OL PEDOOBTOES WatuAed HIV SUl|UO TZ0Z/PT/60
BOL? XDAHD T207/ST/60

T2Z XDAHD TZ02/ST/60

DNIODLNO AYIM 59°622- 3 9BELTEL8SO000000N ‘DUO SN LOTZETZET 30 YUVMAN SNAWNIOD T XA LDV SN UND NOIAWOS *D/¥ UISSNVUL JYIM TWNOLLYNUALNI 3NINO Tz202/ST/60

ANAINAVd HOY ve YT a'T-
Qlvd ¥D3HD #Z°0SZ-

(EVGEtHHHY ) PluAdeW OL AT/ZPBEZDES JUBWAeY HIV SUIIUQ TzOz/ST/60
TZ X9SH9 TZOz/ST/60

LIG30 HOV S7’EEO'Z-  STEOTZ'0I93 TZEBBBETOOOOTEO-HIIVUL GII-IIS TNA SdMHISAG AULNAOD *3LVADSAA SEPOLOESTZ:AI DINO “Sd NWN OD OIWO T202/ST/60

Gl¥d 493H3 26'028-
Al'vd~¥94HI 00'089-
Ol¥d XDIHD 86'DS7'T-
Qlvd 4O3H9 OO'OSZ'T-
LNJIWAVd HOV E€°Th2-
ANAWAWd HOV 00°887-
ANIWAVd HOV BE'6E8'0E-
dlvd" ¥D3HD 02'66S-
Qlvd 193H2 25°6b8-
Od XOSHD Ob’eTT'T-
alvd 3343 00°S29'T-
ANaWAWd HOV £9°SZ8’b-
Givd4939HD 2Z*OTE-
dlvd~¥93H> 09°6S-
Olvd XOJHD ZT'S-
dIvd AD3HD 00°S9E-
Gtvd AD3HD OO'PTY’S-
QIVdADAHD BL9TZ-
Ql¥d 9OaHD O6'ZST'T-
Qld XD3HD TZ's6e'T-
ANAWAVd H3¥ 00°278"Z-
IN3IWAYd HOV 60°9ET'Z-
Ql¥d 9933 $8°69T'T-
ANaWAY¥d HOW 00°E60‘E-
Gi¥d193HO Bb'esz-
AN3WA¥d HOW 00°8S2'T-
Qlvd D352 $B°892'Z-
AN3WAYd HOY 00’OrE-
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OTL’ XDIHD TZ02¢/ST/60

@£9¥ NDZHD 1202Z/9T/60

TTév ADAHD TZOZ/9T/60

EOL ADSHD T202/9T/60

(PePeHtHHtH ) NUYDS| OL ZZE87PZEOES WawWAe HIV SUI TZ0Z/9T/60
(SOSTHHHHH ) OAIEL OL BZOBETEDES JUaWAed HOW BUD T202/3T/60
(LSSOHHHHHH) O1]99(NSU| OL ZSOOZTEDES JUaWARd HY BUIIUD TzZ02/9T/60
ZELY NDSHD 1202/21/60

Ob2t YD3HD 1202/27/60

€bLp NOIMD 1202/21/60

SEZ YDSHD 1202/21/60

(Q0OSHHHHHH ) 941 OL LOZTREEDES aWAeY HOY aUNYO TZ0Z/ZT/60

STZ MOAHD 1202/21/60

21d XD3HD 1202/27/60

L£Lb YDIHD 1202/02/60

TELP ND3HD 1202/07/60

9EZ~ XD3HD 1202/07/60

812% XDIHD 1207/07/60

T89¢ XD3HD TZ07/0z/60

9ZLb MD3HI 1202/02/60

(TSSOHIRHHHE ) 01293/NSU| OL BTPORSEDES JUaWAeY HOW BUIUD 1207/07/60
(TSSOHHHHI) O.nDa\NSU] O1 ZZZZZSEOES JUaWAed HOY AUITUD 1202/02/60
@bZb XO3HD 1202/02/60

(EPL SHH) QIUPAH OL OLbZPSEOES wuaWAed HW UU 1202/02/60
6TZ¥ XO3HD 1202/02/60

(TOD HHH) esLaUy O2]8N DDY OL PSODPSEOES 1UawWAed HOW aUIIUO 1202/07/60
StL MAD 1702/02/60

(BZegHHi) Jalyeng 01 SOEGZSEDES IUaWARY HOW aUIUO TZ0Z/Oz/60
(BOEOHHHHI ) EINWDAN 01 EGEZZSEDES WawWAed HIV BUIUO 1202/07/60

41930
419340
41830
HDIHD
41830
433HD
33DAHD
ADIHD
ADIHD
ADIHO
ADIHD
33HD
4DIHD
ADAHD
33H2
433HD
11830
ADAHS
163d
ADAHD
D3HI
1ia3d
1193G
4D3H3
L930
OSHD
DIHD
3DAHD
DIHD
L830
11930
11930
43AHD
ADIHD
ADAHD
y REL)
41830
ADAHD
434H3
AD3HD
43H)
ADAH
WIaHD
OAHD
D3HI
iigaa
119430
AIIHD
Liga
D3HD
93d
4D3aHD
46930
Liga
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Ob’ b69'Te9-

NOMDVSNVUL 334 OS°902-

QIvd 93H 22'2E2-
Qlvd YO3HD LS SEP
Qlvd-9O3H9 ZT‘Z6E'T-
Ql¥d"- 93H) 6z°S£Z-
ANAWAYd HY 98°96-
AN3WAVd HOV 00'S2‘T-
ANSINAVd HOV 00°ST8‘T-
Olvd NOIHD 27'662-
LIGAC HOV TS'LEG'T-  [OS0T ZG SEZEIEITONONTSEO'#IOVEL
Alvd O3HD 29°TET-
ANAWAWd HOV 28° TTT'T-
ANGINAVd HOY 00°SZ0'T-
Ol¥d4D3HD OT'9PS‘T-
ANGINA HOY OS'E8Y'T-
Olvd XI3HD 00'00S"E-

LUG30 HOV O7'PEL‘T- JF BTPSOSTZOOCOTZO‘HIOVUL Odd=I3S

Clvd 93H) ¥O'ZST-
GlVd XI3HD ES BST-
GIvd ¥93HD 4@S'She-
Altd-X94HD vO'ZEr-
divd 99O3H9 00'005-
Qlvd- O39 OT GOE'T-
Qivd993H9 80°L-
Qi¥d DSH TTZL6-
Gi¥d YOSHI 96'PL8-

093°33S Td $dNYOSad AWLNA OD

ASNONY JO HLNOW 3HL Od SADUWHI IDIANAS TZ02/T0/60

8b9% ADISHD 1Z07Z/T0/60

@29b NOSHD 1207/10/60

TOLb XO3HD TZOZ/T0/60

€S9b NIBHD 1202/T0/60

(PeveHHHHT ) 1UYIGL OL BETISZTOES JWsWAeY HOV SUI!UO TZ07Z/TO/6D
(ROESHHHHHY } CANAAN O1 PIOEBZTOES JUSWARd HOY SUl/UO TZ027/T0/60
(TESomHHHA) 0.1193 |/NSUI O1 ELZZ8ZTOES awdAeg HY aul|UQ TZ0Z/TO/60
9v9r ADIHD TZOZ/TO/60

“Sd N:ZINWYN OD DINO TZ0z/T0/60
EL9y NDZHD 1202/20/60
(Q00SHHHIHH ) Dal OL LOSVESTOES Jaded HOY auIIUD 1702/20/60
(6oSTHHHHHF ) OAIe1 OL ZEEZOSTOES UawAeY HOY BUNUO 1207/70/60
202% NDAHD Tz0z/E0/60

(EpZSHHHH ) 8IUPAH 01 S8TBBLTOES JuawAed HY AUNUO TZ07Z/£0/60
8£9% YOSHI TZ07/€0/60

taLvd 384d 9EvOL0E6T2:0) D1HO

AVd37HDS30 AMLNA OD €OG60TZ:3LVd ISIC STECBPOZET-CI DUO = —L 193735 TWLNAG'JWVN OD DINO TZ07/E0/60

£89¢ YD3HD 1207/40/60
SB9b NDSHD 1202/20/60
889% XO3HD 1202/20/60
O89% NIBHD 1202/20/60
69 YOBHD 1207/20/60
689% YOSHI 1202/20/60
649 NDAHD 1202/20/60
LL9b YDIHD 1207/20/60
969p ND9HD 1202/20/60

SNIOOLNO FUIM v6'E67'SOT- :SE ¢NUL TZIVO :3000 LNAMND “434 SN -ZPTEZ 10 ALID YAWOHY DIO BOI IN3DY SV ITI “TIOKAd NODAWd ‘3/¥ Ya4SNVUL JUIM SILSWIO" ANIINO 1202/20/60
(TopbHiHtit ) ealrauny OI]9N DOW OL BSLZEGTOES JUaARY HOV aUIIUO 1202/20/60

AN3WAVd HOV OS'STE‘T-
ANAINAWd HOV ¥P'ZZ6'0T-
AN3WAVd HOV 08°ZE8-
AN3IWAVd HOY S0°66t-
Ot¥d NOIHD 00°TOS-
Alvd ¥3H3 99°0ES’T-
Olvd ¥O3HO +0'2P6-
Olvd-9O3HD SE*E0e‘ST-
QlVd XO3HD OS*¢z-
Cl¥dNI3HD OF TI-
Ql¥d-XD3HD 99°OST-
Qld 993HD 6S°BL-
Glvd N93HD T2"PzE-
LNaWAYd HOW OT EOL?
Ql¥d YD3HD TTOvz-
LNSWAVd HOW 00°0Z0'T-
AIGIQ” HOW 8Z7°99E‘r 306017093 BTE69TELTOODOTEO-#39 vuL
Qld" 3H) Sb’ZOT-
QWvd 4933 00°60T-
LN3INAVd HOW O6"ETZ-
LN3WAVd HOV 00°9T'Z-
LN3WAVd HOY 1S°80S’7-
aIvd 3D3HD 00°SzS-
LIN3WAVd HOY 00°826'T-
Clvd-9O3HD Oo"968'T-
IN3WAVd HOY O0°E8P’T-

Q33°33S Tif Sdfd3S30 AYLNA OD

(SOESHHE ) EINWAAN O1 BTSZZETOES WUalwAed HOV aUl["UO 1202/20/60
(TesoHsHHe ) onza[nsul OL OPLOZETOES JUaWAeg HOY AUIIUG TZOz/Z0/60
(TRsossHtey” ) O2,99/NSU] OL ZTSSOGTOES WaluAed HIV aUIIUO 1207/20/60

O0L¢% NDIHD 1202/20/60

T69r XD3HD 1202/20/60

GL9% NOIHD 1202/20/60

Z69¢ NOZHD 1202/20/60

PEO IN3HD 1202/80/60

289% XO3HD TZ07/80/60

bé9v YO3HD 1707/80/60

269~ XO3HD 1202/80/60

669 XO3HD 1207/80/60

(QO0SHHHHHHY) D431 OL LOOTETZOES JUEWIAeg HOY BUIIUD 1202/80/60
S69b XO3HD 1202/80/60

{SZESHHH) 2aryang OL ZZ7BZ90ZOES JUaWAe HOY SUID 1202/80/60
‘ALWO DS30 SEPOLOEGTZ‘C! OIHO ‘Sd MAWYN OD DINO 1202/80/60
869> A33HD 1202/80/60

9£9p NDBHD 1202/80/60

(66RHHHHIN } SJUaLINUOIDIW OL ZSB9ZEZOES WaWAed HIV 2UIIUO TZ0Z/60/60

(TObbiHHeH ) Colawy O}EN IOV OL OETOTEZOES JUBWAEY HO aUI|UO 1202/60/60

(EPGEHsHH) PILLISQIeW OL ZOGZ0EZOES WaWAed HIV BUIIUO 1202/60/60
069% XD3HI 1202/60/60

(S00SHHHHI ) D3I OL EZE9ZZZOES JUaWAeY HOV BUIIUO 1707/60/60

vOLb ND3HD TZ02/0T/60

(TSS9HMHHHHE ) OLDeMsU| OL EPPOTSZOES JUeWAe HOW eUI|UD TZ02/OT/60

11830
DAHD
XD3HD
ADSHD
433HD

1td30

Laaa

11630
WORD

1183aa
OSHS

11830

Lig3d
O3HD

11930
D3BHD

L830
OSHS
NI3BHD
ADIHD
D3HD
4OaHD
4DaHS
D3HD
DAHD
4D3HD

aad

1e3q
483d

41830

L830
D3HD
WDAHD
ADHD
ADAHD
NOAHD
394H>D
4I3SHD
AIFIHD
3aHD

4i@ad
ADIHD

41830

i630
3D3HD
4D3aHD

Lid3aa

L830

830
>*D3HI

L630

11930
Case 21-30409-mvl11 Doc 119-1 Filed 10/13/21

CHASE &

JPMorgan Chase Bank, N.A,
P O Box 182051
Columbus, OH 43218 - 2051

00119462 DRE 201 210 27421 NNNNNNNNNNN = 1 000000000 80 0000

ELECTROTEK CORPORATION
DEBTOR-IN-POSSESSION 21-30409

Septamber 01, 2021 through September 30, 2021
Account Number: 386

 

CUSTOMER SERVICE INFORMATION

Web site: www.Chase.com
Service Center: 1-877-425-8100
Deaf and Hard of Hearing: 1-800-242-7383
Para Espanol: 1-888-622-4273
International Calls: 1-713-262-1679

 

7745 S 10TH ST
OAK CREEK WI 53154

 

 

 

 

 

 

CHECKING SUMMARY Chase Platinum Business Checking
INSTANCES AMOUNT
Beginning Balance $1,692,318.62
Deposits and Additions 26 693,627.54
Checks Paid 91 -135,950.09
Electronic Withdrawals 68 -495,537.81
Fees 1 -206.50
Ending Balance 186 $1,754,251.76

Your Chase Platinum Business Checking account provides:

No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)

e

e¢ 500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
¢ $25,000 in cash deposits per statament cycle

e Unlimited ratum deposited items with no fee

There are additional fee walvers and benefits associated with your aecount — please refer to your Deposit Account
Agreement for more information.

 

 

 

 

 

 

 

 

 

 

 

DEPOSITS AND ADDITIONS
DATE DESCRIPTION AMOUNT
09/01 Chips Credit Via: Hsbo Bank USA, N.A./0108 B/O: Plexus (Xiamen) CO,, Lid Trade Zone $25,384.00
Chine/Cn ..1D:612042551 Ref: Nonf=Electrotek Corporation Oak Creek WI 3154-1997
US/Ac-000000005873 Org=/Cnhsbe003012598055 Trade Zone China/Cn .,|D:612042551
Ogb=le Hsb C Bank China A/C Pudong Shanghal 20 0120 China Obi=1670148 Ssn:
0060080 Trn: 0121740244Fc
09/01 Lockbox No: 734899 For 1 Items At 16:00 5 Tm: 2100686244Lb 20,000.00
09/01 Orlg CO Name:Prysmian Orlg ID; 1000007995 Dese Date:210901 CO Entry 1,835,00
Desor;/Payments Sec:CTX Tracei#:021000025749456 Eed:210801 Ind 1D:2100013046
Ind Name:0009Electrotek Corpo Trn: 2445749456Te
09/02 Fedwire Credit Via: Citibank N.A./021000089 B/O: Jabil Circuit Sdn Bhd Phase 4,11900 5,440.60
Penang,Malaysia Ref: Chase Nyc/Ctr/Bnf=Electrotek Corporatlon Oak Creek WI
53154-1997 US/Ac -000000005873 Afb=O0/B Citibank Nye Obi=0 07000
0000288213/Rs/Resident Imad: 0902B1Q8021C002204 Trn: 0021870245Ff
09/02 Orig CO Name:Jabil Defense & Orig 1D:9502138032 Desc Date:210901 CO Entry 2,214.03
Deser:Paymants Sec:CTX Trace#:021000026404559 Eed:210902 Ind ID:2000061652
Ind Name:0008Electrotek Corpo Tm: 2456404559Tc
09/03 Lockbox No: 734899 For 1 Items At 16:00 5 Tm: 2101027246Lb 16,433.75
09/07 Lockbox No: 734899 For 3 Items At 16:00 5 Trn: 2100296250Lb 34,785.98

 

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CHASE &

Account Number:

 

 

DEPOSITS AND ADDITIONS

(continued)

September 01, 2021 through September 30, 2021

386

 

 

 

DATE
09/07

09/09

09/10

0s/13

09/15

DESCRIPTION

Orig CO Name:Plexus Corp. Orig 1D:2391344447 Desc Date: CO Entry
Deser:Corp Pmt Sec:CTX Trace#:111000028447016 Eed:210907 Ind ID:3573Pt676480
Ind Name:0012Electrotek Corpo Tm: 2508447016Tc

Orig CO Name:Baetss Pmd Orig |D:7010532275 Desc Date:210909 CO Entry
Deser:Payment SeaCCD Trace#:051000014665731 Eed:210909 Ind 1D:414143035
Ind Name:Electrotekco, Receivabl Tm: 2524665731Tc

Orig GO Name:Lockheed 0654 Orig ID: 1521893632 Desc Date:SEP 10 CO Entry
Descr:PO/Remit Sec:CTX Trace#: 0280000871 05232 Eed:210810 Ind
1D;2002299262Payr Ind Narne:0007Electrotek Corpo Tm: 2537105232Tc

Orig CO Name:Plaxus Carp. Orig 1D:2391344447 Desc Date: CO Entry
Deser:Corp Pmt Sec:CTX Tracei#:111000020905556 Eed:210913 Ind ID:3573Pt676928
Ind Name:0012Electrotek Corpo Tm: 2560905556Tc

Chips Credit Via: Hsbe Bank USA, N.A/0108 B/O: Plexus (Xiamen) CO., Ltd Trade Zone
China/Cn ..1D:612042551 Ref: Nonfi=Electrotek Corporation Oak Creek WI 53164-1997
US/Ac-000000005873 Org=/Cnhsbc003012598055 Trade Zone China/Cn ..1D:612042551
Ogb=le Hsb C Bank China A/C Pudong Shanghai 20 0120 China Ob1677626 Ssn:
0206512 Tm: 0441280258Fe

AMOUNT
1,983.00

1,165.95

900.00

6,723,00

8,005.00

 

09/16
09/17
og/20

Lockbox No: 734899 For 1 Items At 16:00 5 Trn: 2100380259Lb
Lockbox No: 734889 For 1 Items At 16:00 5 Tm: 2101041260Lb
Lockbox No: 734899 For 3 Itams At 16:00 5 Tm: 2100786263Lb

4,105.20
3,927.00
20,695.00

 

as/20

09/20

09/22

09/23

09/23

Orig CO Name:Teledyne Ems Orlg 1D:1251843385 Desc Date: CO Entry
Deser:Trade Pay Sec!CCD  Trace#:111000020512384 Ead:210820 Ind ID:
Ind Name:Electrotek Corporation Tm: 2630512384Tc

Orig CO Name:Plexus Corp. Orig 1D:2391344447 Desc Date: CO Ent
Deser:Corp Pmt Sea:CTX Tracet#111000020512370 Eed:210920 Ind ID: SB7SPI677672
Ind Name:0012Electrotek Corpo Tm: 2630512370Tc

Bock Transfer Credit B/O: Pne Bank National Association Akron OH 44308- US
Org:/1068924652 Kitron Technologies Inc Ogb: Aba/043000096 Pne Bank, N.A Ref:
Invoices 101971, 101972/Ins/Aba/043000096Pnebank Tm: 1484380265Ez

Chips Credit Via: Hsbc Bank USA, N.A/0108 B/O: Plexus (Xiamen) CO., Lid Trade Zone
China/Cn ..1D:612042551 Ref: Nbonf=Electrotek Corporation Oak Creek WI 53154-1997
US/Ac-000000005873 Org=/Cnhsbc003012598055 Trade Zone China/Cn ,.1D:61204255 1
Ogb=le Hsb C Bank China A/C Pudong Shanghai 20 0120 China Obi=1681979 Ssn:
0212162 Tm: 0477260266Fe

Lockbox No: 734899 For 1 Items At 16:00 5 Tm: 2100470266Lb

85,741.02

3,720.72

8,209.88

154,354.50

3,910.40

 

09/24
09/27

Lockbox No: 734899 For 1 ems At 16:00 5 Tm: 2101263267Lb
Lockbox No: 734899 For 4 Items At 16:00 5 Tm: 2101268270Lb

78,080.79
21,151.40

 

09/27

09/27

09/28

Orig CO Narne: Teledyne Ems Orig 1D:1251843385 Desc Date: CO Entry
Deser:Trade Pay Sec:CCD Trace#:111000022588861 Eed:210927 Ind ID:

Ind Name:Electrotek Corporation Tm: 2702588861Tc

Orig CO Name:Plexus Corp. Orig 10:2391344447 Desc Date: CO Entry
Deser.Corp Pmt Sec:CTX Trace#:111000022588863 Eed:210927 Ind 1D:3573Pt6é78086
Ind Name:0012Electrotek Corpo Tm: 2702588863Tc

Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Plexus (Xiamen) GO., Ltd Trade Zone
China/Cn ..1D:612042551 Ref: Nbni=Electrotek Corporation Oak Creek WI 53154-1997
US/Ac-000000005873 Org=/Cnhshc003012598055 Trada Zone China/Cn ..1D:612042554
Ogb=le Hsb C Bank China A/G Pudong Shanghai 20 0120 China Obi=1686408 Ssn:
0184930 Tm: 041266027 1Fc

142,457.22

6,128,10

33,180.00

 

09/30

Orig CO Name:Salinelectronics Orig ID:1510422666 Desc Date: CO Entry
Deser:ACH Weeklysec:CCD Trace#:211274457675789 Eed:2109380 Ind |ID:Electrotek
Corp Ind Name:Electrotek Corporation —_ Inv-101943 Tm: 2737675789Tc

Total Deposits and Additions

3,096.00

$693,627.54

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CHAS E Gg September 01, 2021 through September 30, 2021
Account Number: 386
CHECKS PAID
DATE

CHECK NO, DESCRIPTION PAID AMOUNT
4622 A 09/01 $435.57
4646 *A 09/01 299,22
4649 *A 09/01 237.72
4653 *A 09/01 275.29
4872 "A 09/16 680.00
4673 A 09/02 131.67
4874 “4 09/08 150.66
4675 “A 09/07 942.04
4676 * 09/08 109,00
4677 09/07 912.11
4878 * 09/03 3,500,00
4679 A 09/07 7.08
4680 * 09/07 432,04
4681 “A 09/20 1,157.90
4682 A 09/08 61.50
4683 A 09/18 40,00
4684 A 09/08 424.50
4685 “” 09/07 198.83
4687 *A 09/07 157,04
4688 “ 09/07 345.59
4689 A 09/07 1,109.10
4690 “ 09/09 525.00
4691 “ 09/07 1,830.66
4692 4 09/07 15,203.35
4693 “A 09/10 294.10
4894 4 09/07 500.00
4695 A 09/08 240.11
4696 A 09/07 874.96
4697 “A 09/08 78.58
4698 A“ 09/08 102.45
4699 A 09/08 324,21
4700 “A 09/07 601.00
4701 ” 09/01 1,392.12
4702 4 09/03 1,546.10
4703 * 09/16 1,750.00
4704 A 09/10 1,898.00
4705 A 09/21 581,60
4706 “A 09/13 895,50
4708 *A ots 61.50
4709 A 09/14 949.50
4710 “ 09/14 5,08
4711 4” 09/16 1,250.98
4712 A 09/17 59,60
4713 A 09/13 6,826.95
4714 A 09/13 874,96
4715 A“ 09/17 310.77
4716 “A 09/15 870.97
4717 A” 09/10 2,317.17
4718 * 09/20 216,78
4719 4“ 09/20 258.48

 

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CHASE oO September 01, 2021 through September 30, 2021
Account Number: 7386
CHECKS PAID |_vtinuec)
CHECK NO. DESCRIPTION PAG AMOUNT
4720 A 09/13 146.25
4721 * 09/15 1,306.59
4722 *% 09/14 79.34
4723 * 09/14 496.23
4725 *4 09/13 3,692.63
4726 * 09/20 1,298.21
4727 4 09/22 996,72
4728 4” 09/14 990.00
4729 4“ 09/20 565.31
4730 “A 09/22 436.70
4731 4 09/20 365.00
4732 A 09/17 599,20
4733 4 09/20 572.09
4734 “ 09/21 16,389.00
4735 “A 09/27 13,665.78
4736 * 09/20 5,414.00
4737 * 09/20 5.17
4738 4“ 09/17 4,875.00
4739 4 09/22 35.00
4740 * 09/17 849.57
4741 4 09/15 750.24
4742 4% 09/20 1,169.85
4743 4 09/17 1,114.46
4744 4 09/20 284.00
4745 A og/29 630.50
4746 “4 09/20 2,268.85
4747 A 09/22 §,222.25
4748 4 09/28 814.20
4749 A 09/28 1,245.64
4750 “ 09/27 86.75
4751 “ 09/24 500.68
4752 4 09/27 198.64
4755 *A” 09/28 179.06
4756 4“ o9/29 286.86
4757 * 09/22 4,657.27
4758 4“ 09/28 587.54
4760 *” 09/30 4,833.08
4761 “ 09/28 382.00
4763 *4 09/30 1,775.25
4764 “ 09/29 2,950.71
4793 *A 08/30 2,089.12
Total Checks Paid $135,950.09

If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check, As a result, we're not able to ratum the check to you or show you an image.

* All of your recent checks may not be on this statement, either because they haven't cleared yet ar they were listed on
one of your previous statements.

A An image of this check may be available for you to view on Chase.com.

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CHASE &
= September 01, 2021 through September 30, 2021
Account Number: 386
[ELECTRONIC WITHDRAWALS] _

DATE DESCRIPTION AMOUNT
09/01 Orig CO Name:U, P. S, Orig |D:2193070436 Dose Date: CO Entry Descr:UPS Bill $1,987.51

Sec:CCD  Traceit: $91000016968285 Eed:210901 Ind 1D:212400000583782 Ind

Name:X Resubmit Trn:

2446363285T¢
09/01 09/01 Online ACH Payment 53012827783 To Insulactro (_7HHHHG5B 1) 1,815.00
og/01 09/01 Online ACH Payment 5301263014 To Uyemura (_JHHHHHIG308) 1,745.00
09/01 09/01 Online ACH Payment 5301296118 To Technic (_HHHY#8434) 96.86
09/02 09/02 Online ACH Payment 5301502332 To Taiyo (_##HHAHH1509) 1,075.00
09/02 09/02 Online ACH Payment 5301534307 To lao (_###HHHH5006) 1,111.82
0903 Orlg CO Name:Dental Select It Orig 1D: 1870482115 Desc Date:210903 CO Entry 1,734,20

Deser:Epa' SecPPD Trace#:021000021805418 Eed:210803 Ind 1D: 14026614-001

Ind Name:Electrotek Corporation Tm: 2461805418Tc
09/03 09/03 Online ACH Payment 5301788186 To Hydrite (_##HHHI5S743) 1,483.50
09/07 09/07 Online ACH Payment 5301905512 To Insulectro (_##HHHH6581) 499.05
09/07 09/07 Online ACH Payment 5301920740 To Insulectro (_##H##6581) 832.80
09/07 09/07 Online ACH Payment 5301927518 Ta Uyemura (_##HHRHIG308) 10,927.44
09/07 09/07 Online ACH Payment 5301937758 To Age Nelco America (_i#####446 1) 1,318.50
09/07 09/07 Online Domestic Wire Transfer A/C; Paycom Payroll, LLC As Agent For Oklahoma City 105,293,94

OK 73142- US Ref: Client Code: OAI21 Tm: 3534341250Es
09/08 §=Orig CO Namea:U, P. S. Orig |D:2193070436 Deseo Date: CO Entry Deser: 7 Bill 4,366.28

Sea:CCD Trace: 691000017316918 Eed;210908 Ind ID:212470000583782 Ind

Name:X Resubmit Tm:

2917316918T¢
09/08 09/08 Online ACH Payment 5302062827 To Buehler (_###'8378) {,020.00
09/08 09/08 Online ACH Payment 5302131007 To lac (_#HHHHHISO06) 4,703.10
09/09 09/09 Online ACH Payment 5302276923 To lec (_iHHHHHISO06) 1,978.00
09/09 09/09 Online ACH Payment 5302307907 To Macdermid (_#43943) 2,508.51
09/09 09/09 Online ACH Payment 5302316130 To Age Neleo America (_####H##4461) 2,164.00
09/09 09/09 Online ACH Payment 5302326857 To Mieronutrients (_i####i##8996) 713.90
OS10 Orig CO Name:Sentry Life Ins Orig ID:Sentryins5 Desc Date:090921 CO Entry Desor:401K 5,413.15

Pmt Sec:CCD Trace#: 091000017834847 Eed:210910 Ind 1D:115336077 ind

Name:Electrotek 401(K) Plan 401K_O

Tn: 2537833847T>
O9/10 09/10 Online ACH Payment 5302465658 To Macdermid (_a###3943) 2,046.65
09/10 09/10 Online ACH Payment 5302473968 To Insulectro (_##HHHHIG581) 620.25
09/10 09/10 Online ACH Payment 5302491608 To lec (_##HHHHI5006) 334,06
09/10 08/10 Online ACH Payment 5302510443 To Insulectro (#iHHHHIE5S 1) 1,483,00
09/14 09/14 Onllne ACH Payment 5302800034 To Insulectro (_iHHHHHI658 1) 8,731.50
09/14 09/14 Online ACH Payment 5302881946 To Insulectro (_#4##HHH658 1) 5,584.00
0915 Orig COName:U. P. S$ Orig |D:2193070436 Desc Date: CO Entry Deser:UPS Bill 2,038,25

Sec:CCD  Trace#: 69 1000019888921 Eed:210915 Ind 1D:212540000583782 Ind

Name:X Resubmit Trn:

2589888921Ts
09/15 09/15 Online ACH Payment 5302984717 To Macdermid (_####3943) 1,814.34
09/15 09/15 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De 729.68

197132107 US Org: 00000000587317386 Elactrotek Corporation

Ben:/Da2160291 1200122035003 Pill Gmbh Technology For Peb Ref: 0146-2 {Invoice

Payment/Ocmt/Eur600,00/Exch/0,8223/Cntr/76557536/ Trn: 9661500258Re
09/16 09/16 Online ACH Payment 5303170067 To Insulectro (iH#HMHHI658 1) 30,839.38
09/16 09/16 Online ACH Payment 5303198678 To Taiyo (_s#aHH#1509) 288.00

09/16 09/16 Online ACH Payment 5303242877 To Technic (_iHHHI8434) 241,33

09/17 09/17 Online ACH Payment 5303381207 To lec (_iHeti###5008) 4,825.63
09/20 09/20 Online ACH Payment 5803522993 To Uyemura (_######6308) 2,841.00
09/20 09/20 Online ACH Payment 5303529365 To Buehler (_####8378) 340,00
09/20 09/20 Online ACH Payment 5303540054 To Age Nelco America (_#####4461) 1,758.00

 

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CHASE &
= September 01, 2021 through September 30, 2021
Account Number: "386
[ELECTRONIC WITHDRAWALS] (continues)

DATE DESCRIPTION AMOUNT
09/20 09/20 Online ACH Payment 5303542470 To Hydrite (_#####5743) 3,093.00
09/20 09/20 Online ACH Payment 5303577222 To Insulectro (_##HHHHI658 1) 2,136.09
0g/20 09/20 Online ACH Payment 5303580418 To Insulectro (_iHHHHHIG5S1) 2,822.00
09/21 09/21 Online ACH Payment 5303691393 To lec (_dH#HHHHISO06) 1,695.23
09/21 09/21 Online ACH Payment 5303691528 To Macdermid (_#####3943) 1,956.32
09/21 09/21 Online Domestic Wire Transfer A/C: Paycom Payroll, LLC As Agent For Oklahoma City 103,808.32

OK 73142- US Ref: Cliant Coda; OAi21 Tm: 3295501264Es
09/21 09/21 Online ACH Payment 5303718249 To Uyemura (_iHHHHHIG308) 22,711.70
09/22 Orig CO Name:U. P. S. Orig 1D:2193070436 Desc Date: | CO Entry Descr:UPS Bill 4,477.99

Sec:CCD  Trace#:091000015634856 Eed:210922 = Ind 1D:212610000583782 Ind

Nama:X Resubmit Tm:

2655634656Tc
09/22 09/22 Online Intemational Wire Transfer A/C: Lloyds Bank Ple Birmingham 81 2Ab United 12,866.00

Kingdom Gb Ban:/Gb25Layd3098 1511885367 Xact Peb Ltd Ref: 21/3195 And 21/3202 Invoice
Payment Tm: 3109471265Es

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

09/22 09/22 Online ACH Payment 5303778490 To Insulectro (_#HHEHHIG5B 1) 9,936.00
09/22 09/22 Online ACH Payment 5303801337 To Insulectro (_/HHHHHI6581) 7,311.00
09/22 09/22 Online ACH Payment 5803804694 To Uyemura (_##HHHHG308) 1,993.00
09/22 09/22 Online ACH Payment 5303822310 To Insulectro (_##RHHHIGS81) 2,078.70
09/23 09/23 Online ACH Payment 5303965788 To Uyermura (_/HHHHHIG308) 1,775.00
09/23 09/23 Online ACH Payment 5304058401 To Arlon (_#HHHHHI3790) _ 59,443.90
09/24 Orig CO Name:Sentry Life Ins Orig ID:Sentryins5 Dese Date:092321 CO Entry Desor:401K 5,229.43

Pmt Sec:CCD Trace#:091000013119917 Eed:210924 Ind ID:116240527 Ind

Name:Electrotek 401(K) Plan 401K_O

Tm: 2673119917Tc
09/24 09/24 Online ACH Payment 5304195510 To Buehler (_#H#83978) 1,820.00
09/24 09/24 Online ACH Payment 5304196366 To Insulectro (_###HHHI6581)} 1,248.00
09/27 09/27 Online ACH Payment 5304338325 To lec (_dHHHHATSO08) 4,031.63
09/27 098/27 Online ACH Payment 5304364607 To Macdenmid (_##HHI3943) 1,993.34
09/28 09/28 Online ACH Payment 5304429190 To Hydrite (_#4HHH15743) 2,919.64
09/28 09/28 Online ACH Payment 5304456075 To Insulectro (_###HHH}6581) 1,524.00
09/28 09/28 Online ACH Payment 5304456489 To Taiyo (_#HHHHHEH 509) 3,004.00
09/28 09/28 Online ACH Payment 5304460720 To Macdermid (_#HHHH3943) 489.56
09/29 Orig CO Name:U. P. S. Orig ID:2193070436 Desc Date: CO Entry Deser:UPS Bill 2,768.39

Sece:CCD  Trace#:091000010585559 Eed:210929 Ind 1D:212680000583782 Ind

Name:X Resubmit Tm:

2720585559Tc
09/29 09/29 Online ACH Payment 5304627033 To Insulectro (_#H#HHHHIG5B1) 7,399.00
09/30 09/30 Online Intemational Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De 1,091.53

197132107 US Org: 00000000587317386 Electrotek Corporation
Ben:/It84B031 1150280000000000152 Orlandi And Orlandi Ref: 79/21 Invoice
Payment/Ocmt/Eur915,25/Exch/0.8385/Cntr/8094337 1/ Tm: 3787900273Re

 

 

 

 

 

 

 

Q9/30 09/30 Online ACH Payment 5304854457 To Macdernmid (_##H#H3943) 1,043.06
09/30 09/30 Online ACH Payment 5304854687 To Uyemura (_##HHHHIG308) 3,197.00
09/30 09/30 Online ACH Payment 5304877852 To Taiyo (_#4HHHHH 509) 2,173.00
09/80 _ 09/30 Online ACH Payment 5304902988 To Insulectro (_##HHHHI6581) 954.37
Total Electronic Withdrawals $495,537.81
| FEES |
DATE DESCRIPTION AMOUNT
09/01 Service Charges For The Month of August $206.50
Total Fees $206.50

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September 01, 2021 thraiinh Santambar 30, 2024

 

 

 

 

 

 

 

 

 

 

Account Number: 386

| DAILY ENDING BALANCE |

DATE AMOUNT DATE AMOUNT DATE AMOUNT
09/01 $1,731 ,096.83 09/13 1,601 ,824.84 09/22 1,444,424.04
09/02 1,736,432.97 09/14 1,585,289.19 09/23 1,541,470.01
09/03 1,744,602.92 09/15 1,585,727,64 09/24 1,610,752.69
09/07 1 ,639,386,37 O9/16 1,554,783,15 09/27 1,760,513.27
09/08 1,827,805.97 09/17 1,549,075,92 09/28 1,782,547.63
og/og 1,621 ,082.54 09/20 1 ,632,666,93 09/29 1,768,512.17
09/10 1,607,578.13 09/21 1,485,624.76 09/30 1,754,251.76
| SERVICE CHARGE SUMMARY |

Monthly Service Fee $0,00

Other Service Charges $207.55

Total Service Charges $207.65 Will be assessed on 10/1/21

As an added benefit of your Chasa Private Client Checking account, the monthly service fee was waived on your

Chase Platinum Business Checking account because you maintained an average ledger balance of $50,000.00 or

more in deposits and investments,
[SERVICE CHARGE DETAIL |

DESCRIPTION VOLUME ALLOWED CHARGED PRICE/ UNIT TOTAL

Monthly Service Fee

Monthly Service Fee Waived 0 $05.00 $0.00

Other Service Charges:

Electronic Credits

Electronic Credits 17 Unilrnitad 0 $0.40 $0.00

Credits

Nor-Electronic Transactions 104 500 0 $0.40 $0.00

Cash Management Services

Online ACH Payments Maint 2 0 2 $25.00 $50,00

Online ACH Payments Trans 42 25 17 $0.15 $2.55

Debit Block Malntenancs 1 0 4 $0.00 $0.00 1
ACH Debit Block - Authorized ID 14 0 14 $0.00 $0.00 1

Rt Economy Lockbox With image Maintenance 1 0 1 $155.00 $155.00 1

Cme Economy Lockbox With Image Items 24 100 0 $1.55 $0.00 1

Subtotal Other Service Charges (Will be assessed on 10/1/21) $207.55

ACCOUNT 000000587317386

 

Other Service Charges:

Electronic Credits

Electronic Credits 17
Credits

Non-Electronic Transactlons 104
Gash Management Services

Online ACH Payments Maint 2
Online ACH Payments Trans 42
Debit Block Maintenance 1
ACH Deblt Block - Authorized ID 14
R1 Economy Lockbox With Image Maintenance 1
Cms Economy Lockbox With Image Items 24

1 This charge represents a service provided In a pravious month,

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CHASE Cy September 01, 2021 through Saptember 30, 2021

Account Number: “3B6

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statemeni on which the problem or error
appeared. Be prepared to give us the following information:

» Your name and account number

« The dollar amount of the suspected error ; ‘ .

© A description of the error or transfer you are unsure of, why you believe it {san error, or why you need more information.
We will investigate your camplaint and will correct any error promptly. Hf we take more than 10 business days jer 20 business days for new
accounts) to do this, we will credit your account for the amount you think js in error so thal you will have use of the rnoney during the time It takes
us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately If your statement is
incorrect or if you need more information about any non-electronic transactians (checks or deposits) on this statement. If any such error appears,
‘ou must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
count Rules and Regulations or other a plicable account agreement that governs your account. Deposit producis and services are offered by
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aoe 00’ 00'e79'2 6TOZ/9T/PO 6102/1 Z/s0 SEDEozZ OZSSEL-ANI
00'0 ono EL'7Sp'P 6LOz/TT/pO © 6 tOz/ET/vO SELT-L9S9TST ELTSGO-ANI
000 ooo Oz tto'’s 6t0z/80/r0 + 6T0Z/EZ/PO £7LT-L9SOTST TLTSGO-ANI
ooo o0'o oO'stz 6tOz/S0/F0 + GTOZ/E2/70 TZLT-LOSOTST OTTS60-ANI
ao ooo OF LT6bT stoz/so/so = 6T0z/ST/rva LOSSTST SS6F60-ANI
oo"0 oa 00'068'ET §107/80/90 6102/ST/P0 L9S9OTST bS6b60-ANI
o0'o oo'0 COZTS'T STOC/TO/PO = 6 TOZ/TO/rO BILT-Z9S9TST 6LLPGO-ANI
00D 000 ogoch'y 6toz/oz/eo = 6 802 /z2/e0 £E9T-ZOSSTSE 689P60-ANI
Ol¥d LNNOWWY «= LNNOWY a3IDANI alva’O'd 2LVd ANI Y3GHO 3ISVHDUNd 33IOANI

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a0 3NO TWLOL sava sava savd sava Otvd LNNOWY LNAI 3230ANI 31VQ'0'd 31Vd ANI VW uRdNO ASVHOUNd ADIOANI
Sava 06< 06-19 =O9-TE OE =>
oo" An uaauD *3NOHd MOARJE = 4paq :LWANOD SPxa1 SOISO  jOWYIAL UONeEI O€EZ “U3SWOLSND
an GaN SP'y0S‘OT Shy os‘oL
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Ligaya tiv AV LNNOW ¥ avd BaBINNN CINAW
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Sp'pas’OL 00'o 000 Sb'y0S‘0L 00D 00'0 Bb'b0S'OT TZOZ/TE/ED += t207/TT/80 €pcT2T. SS6TOT-ANI
aio ING WLOL Sava Sava SAVO sava Ol¥d LNNOWY = LNNOWY 33f0ANI auva'o'd Yd ANI vw ¥YAGUO ISVHIUNd IDIOANI
sava 06 < 06-19 D9-TE OE =>
000 “wn Uda Oe and gq SVH2 !3NOHd uo oyuuny A NPN FLIVLNOD auy ‘AS ojouypay wna ZETZ HIWOISNI
oop ere's Tz0z/Ez/"0 T2/€Z/Po M
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00'rs0'Z co'a aco 000 00'rs0'zZ ooo D0'r90'7 Teoz/et/en 1207/0£/60 90T riz L90Z0T-ANI
aio 3NG TWLOL sava Sawa sava sava Qivd INNOWY = LNNOWY aDIOANI alya’o'd 31V0 ANI vIn waquO ISWHOUNd 33I0ANI
SAVG o6< 06-19 09 - TE O€ =>
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OoTEe o0'ore’e oo'u ao'o oo'ore’e 00°0 ao'a 00'Or8’E Teoz/zo/90 = T20z/Te/80 S76RPS ZQ0ZCT-ANI
OO'Te ¥S'062'2 o0'o a0'o bs'06e'2 000 ooo pS'D62'2 Tzoz/Z0/90 —- 120z/TE/BO SZ68vS TOOZOT-ANI
ato 300 WWLOL sava Sava SAVO sava Oivd LNNOWY = LNNOWY 33I0ANI aiva’o'd ALVG ANI wus u3q¥o 3SvHOUNd ADIOANI
Sava o6< 06-13 O9-TE O€ =>
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ooo zest 1z02/€0/80 TROL
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co's oo'z62'6 a0'0 oo'o 00a 00°%6L'6 ooo O0T6L'6 Tzoz/et/eo 120Z/e7/60 €8T928 SSOZOT-ANI
00°oT Oe eet o0'0 coo 000 OeSaT co'o OE eat Tzoz/0z/z0 = T20z/ST/60 eges28 OvOZOT-ANI
00°se OL Eve. a0" 00'0 OLEvE'Z ODD 000 aLert'Z Tz0z/0z7/£0 — 1Z07/2Z/B0 yOrECO-WWHt £86528 SGETOT-ANI
ato and W1LOL SAG sava SAVO sava divd NNOWY LNNOWY J3IOANI aiva'o'd 3LV0 ANt vw ¥a0NO ISVHINd JOOANI
sava o6< 06-19 O9-TE OE =>
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00°03 oo'ssz o0'0 ago ao’ssz =: OOD ao'o oo'so4 Teoz/sz/on = 1z0z/z0/80 pezg60Tasy ZEGTUI-ANI
o0'eL 00°006'Z 00'0 go‘o06'2 co'o co’ ao'o o0'006'% Izoz/sz/90 = Tz207/oz/z0 PEZ9EOTOSP BOGTOT-ANI
ma and WLOL SAVO sAva sava SAVO divd INNOWY = _LNTOWY ZD10ANI BLVa'O'd aLyd ANI ved ¥3OHO ISVHDENd JSIOANI
Sava 06 < 06-19 09-TE Of =>
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ao aNd WLOL sava SAvO SAVO sAva Gi¥vd LNAOWY = LNNOWY 33ICANI q1vd'0'd aLVO ANI vAY W30YO ASWHO"Nd ZD10ANI
Sawa 06< 06-19 O8-TE DE =>
aqaon‘cco’s aA Lda 6¥T7-679-0T8 3 SWH9 ‘3NOHd Z  ajezuogess = 8UaA1VLNOD uojjeiods 9) Wweoy aAyeds9 EL¥T 'YaWOLSND
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a 3nd WWLOL Sava Sava Sava SAYO Qtvd INNOWY = =—-LNAOWY 3DIOANI alva'o'd avd ANI ww ¥3B0NO SSVHO"Nd 3SIOANI
SAG os< 06-19 09-TE Of =>
o0'o aan wa3ud 'aNOHd quese = udes ‘1 V1NOD Wzvus = - SUVOHLTW3H 35 ESZZ ‘MBWOLSND
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om ang Twi0L savd sava sava savd GI¥d LNNOWY = LNNOWY aDIDANT aava'o'd 21V0 ANI WAY BagUO aIsvHOUNd ADIOANI
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phi 300 WLOL Sava sava sava Sava divd INNOWY = LNNOWY aJIOANI alvd'O'd aLVa ANI VIA mare 3SvHOUNd ADIOANI
sava 06< 06-19 «9 - TE ot =>
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ay0 aN Tv1OL SAVO saya sAvd sava Givd LNNOIWY == LNNOWY 310ANI ava'o'd aLV ANI VAY u30UO ASVHIUAd 2310ANI
Sava 06< 06-18 O5-TE Oe =>
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aNd WoL SAvO sava sava sAva GIWd LNNOWY == LNNOWY 33i0ANI alva'O'd 3LVG ANI va W3YO 3SVHIUNd JDIOANI
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09'66b'L oo'o ood on'a a9°66r'L ooo 09'66¢'t 1Z0z/b7/B0 =: TZ0z/Ez/o0 €vLeT BS0Z0T-ANI
3nd W10L Sava sava savd sava Gl¥d LNNOWY = LNNOWY J31I0AN! UVO'0'd aLVG ANI vINY w3d¥O ASWHOUNd BDIOANI
o6< 06-19 O9-TE Og =>
co'co0'os wan aay 3 S¥H9 ‘3NOHd W2Qs|| — AZEHZLVINOI =: UOMEyOdIoD Ss psepuRrs jesauED TvIT :waWOLSND
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CO'E08‘ 00'0 a0"0 00'0 O0'E08"b ooo oo" E08"b Tzoz/e0/a0 = 1z20z/e0/60 GETS -B0 LTOZOT-ANI
co°207’E poo ooo oozoz’e 000 aod oo'zaz’e Teoz/et/z0 = 1202/70/80 LUpLe TP6TOT-ANI
and WoL Sava sAva sava sava Qiv¥d LNQOWY = LNNOWY 3d10ANI 3LVO'O'd 31¥0 ANI vA ¥30YNO ASWHOUN 3310ANI
06 < 06°19 09-TE O€ =>
00'o TWN = LIGSUDESZOEPS «= éSObERLALT TS SVHO ‘3NOHd Zelago#e| = eS “IV INOD ajged }e1suay L6v2 ‘UaIWOLSND
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3nd TYLOL sAva Sava sava savd Clvd INNOWY = LNNOWIY aDIDANI 31VQ'O'd avd ANI vd ugguo aSvHD"Nd ADIOANI
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anda 1WLOL SAVO SAvO SAWG Sava Otvd INNOWY = _LNNOWY 33IOANI avd'o'd AVO ANI vw W3aYO 3SVHI"Nd JIIOANI
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OO'OSE’SOT 00°0 00'0 ona goose’soT oro DO'OSe’SOT Tzaz/zo/eo — tzDz/ez/e0 TLOLESTLET O9020T-ANI
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3N@ W1OL savd SAVa SAvO SAWG Olvd INNOWY = LNAOWY JIOANI avao'o'd VG ANI VW waduo 3svHOUNd JOIOANI
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and WLol SAWO Sava sava Sava divd LNNOWY == LNNOWY a21I0ANI alva’o'd 2G ANI vw u30HO 3SVHOUNd JDIOANI
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oo"a00'00sS “UAT LIG3uD 676-LTL-LYB 2 SYD -INOHd BUIUSy (OA WIT DVINOD = BaLaLy YON jo ‘uy duipey 2EST ‘wIWOLSNS
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3nd Wi0L Sava sava Sava sava Old LNNOWY = LNNOWY J3I0ANI aiVG'0'd 31d ANI ww ¥adYO 3SYHOUNd JDIOANI
06 < 06-T9 O9-TE DE =>
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30d WLOL saya Sava Sava sava Givd LNNOWY = LNROWY JSIOANI aLva'O'd avd ANI vw w3qYO ASVHOUNd AOIQANI
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and WoL Sava SAVE sava Sava Qivd LNNOWY = LNNOINY JIOANI aiva'o'd 3LVOG ANI vid Y3QNO ASWHO"UNd AIIOANI
06< 06-19 a9-TE Of =>
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oro 90L'T 0z0z/z0/30 0z/z0/90 *
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3nd WLOL Sava sava Sava sava divd LNMOWY = LNNOWY a3IOANI aLvo'o'd 31V0 ANE vAUY u32QNO aSVHIYNd B1OANI
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aio and WLoL SAVG sava sava sava Olvd INNOWY = LNNOWY J9IOANI aLva'o'd 2V0 ANI YH W3QUO ISVHIUN JDIOANI
SAVO 06< 06-T9 no-Tée Oe =>
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Current Year
Current Month

 

Assets
Current Assets
Cash and Cash Equivalents
Petty Cash
Cash - Chase Bank

400.00
1,754,251,76

 

Accounts Recefvable

1,754,651.76

 

 

 

 

 

 

 

Accounts Receivable 758,220.30
Allowance For Doubtful Account (60,000.00)
698,220.30
Other Receivables
Scrap Receivable 22,000.00
P/R Clearing-Child Support 502.85
P/R Clearing-Garnishments 944.63
P/R-Temporary Holding Acct (7,425.65)
P/R Clearing-AFLAC-Life 47.40
P/R Clearing-AFLAC-Health (815.33)
P/R Clearing-Colontal Life 3,472.01
18,725.91
Finished Goods/WIP Inventory
Finished Goods - PP 75,411.00
Work-In-Process Inventory 374,233.00
Finished Goods Over Run Value 313,086.00
762,830.00
Inventory
Mu3tilayer Inventory 650,329.50
Laminate Inventory 79,427.35
Photo Tooling Inventory 3,336.76
Drill Room BU/E Inventory 29,963.26
Print Room Inventory 17,691.44
Plating Room Inventory 34,347.04
Screening Room Inventory 13,365.80
Routing Room Inventory 4,428.27
Plating Rm Inv-H&S Gold&Nick1 294,110.45
Plating Room Inv-Copper 48,636.04
Plating Inv- ENIG 54,136.00
Plating Room - Inv Silver 4,900.04
Plating Inv-Etching (SES&DES) 9,261.70
Plating Inv-HAL 6,791.74
Plating Inv-OSP 853.00
Plating Inv-Oxide 5,465.71
Plating Inv - PTH 16,539.00
Flex Material Inventory 31,448.14
1,305,031.24
Total: Current Assets 4,539,459,21
Other Assets
Prepaid Expenses
Prepaid and Deposits 214,345.27
214 , 345.27
Land and Building
Land 186,000.00
Bui Iding 3, 238,412.88
Land Improvements 21,227.00

Accum Deprec - Building

(1, 523,486.47)

 

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Electrotek Corporation

Balance Sheet

As of September, 2021

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MRE/F&F
Machinery & Equipment

Current Year
Current Month

1, 922,153.42

10, 150,253.89

 

 

 

 

 

 

Furniture & Fixtures 663,091.79
Accum Deprec - M&E (9, 325,152.31)
Accum Deprec - F&F (663,091.79)
825,101.58
Total: Other Assets 2,961, 600.26
Total: Assets 7,501,059.47
Liabtlittes
Current Liabilities
Accounts Payable
Accounts Payable 2,B91, 977.87
Accrued Accounts Payable 297,227.61
Credit Card Accrued Payable 25,561.73
Account Payable - Checks Cut 61,027.29
Electro Plate 827,252.91
4,103,047.41
Accrued Expenses - Other
Accrued Wages 87,820.22
Accrued Holiday Pay 52,383.38
Accrued Real Estate Taxes 38,775.51
Accrued Legal & Audit Fees 43,511.59
Reserve Tariff Reimburement 100,093.18
Accrued FICA 5,339.35
Accrued Vacation Pay 133,945.22

Accrued Interest ~ Shareholder

1,259, 292.00

 

 

 

 

 

 

 

 

 

1,721, 160.45
Current Portion of LT Debt
Note Payable Insulectro 338,840.68
338,840.68
Total: Current Liabilities 6,163 ,048.54
Long-Term Liabilities
Long Term Debt
Shareholder Loan - Chase 300.00
Shareholder Note #1 1, 100, 000.00
Shareholder Note #2 5,400, 000.00
6,500, 300.00
Total: Long-Term Liabilities 6,500, 300.00
Total: Liabilittes 12, 663,348.54
Shareholders Equity
Shareholders Equity
Common Stock
Common Stock - Class A 33,872.31
33,872.31
Additional Paid In Capita)
Paid-In-Capital 3,674, 866.90

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Electrotek Corporation

Balance Sheet

As of September, 2021

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As of September, 2021
Current Year
Current Month

 

 

 

3, 674,866.90
Retained Earnings-Current Year
1,222, 859.57
Retained Earntngs-Prior Year
Retained Earnings (5,297,051.84)

 

(5 297,051.84)
Tax Distributions
Tax Dividend Distribut{ons (4,796,836.01)

 

(4,796 836.01)

 

 

 

Total: Shareholders Equity (5,162,289.07)
Total: Liabilities \ &
Shareholders Equity 7,501,059,47

 

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As Of September , 2021

Current Year
Current Month

 

Total Production
Multilayer Production

MLB - Sales 678,876.17
MLB - Returns & Allowances (155,565.15)
MLB - WIP Variance (52,443.00)
470,868.02
Double Sided Production
DS - Sales 151,886.14
DS - WIP Variation (26,222.00)
125 664,14
596,532.16
Cost of Goods Sold
Direct Labor
Direct Labor 82,143.56
82,143.56
Outside Labor
O/L - Die Blanking 900.13
Outside Service - Engineering 40.00
Outside Service - Inspection 1,750.00
O/L - Tensil Strength-Elong. 500.00
3,490.13
Material
Film Purchases 1,906.72
Multilayer Purchases 44,430.19
Laminate Purchases 11,756.01
BU/E Purchases - Drill Room 5,059.20
Dritt Bit Purchases 1,012.50
Dril? Bit Resharpening 814.20
Dry Film Purchases 5,918.58
Plating - Hard & Soft Gold 10,566.97
Plating - Copper 1,200.65
Plating - ENIG 15,446.22
Plating - Misc. (Reclaim, etc) 14,908.36
Plating - Inversion Silver 240.60
Plating - Etching SES & DES 1,762.95
Plating - HAL 1,225.00
Plating - Oxide 4,891.54
Plating - PTH 9,238.41
Screening Ink Purchases 7,505.23
BU/E Purchases - Routing Room 778.00
138, 661.33
Indirect Labor
Production Support & Suprvsn 33,915.35
Materials Management 5,742.00
Engineering 13,875.88
Maintenance 17,738.98
Fringe Benefits 18,440.60
89,712.81
Production Supplies
AOL Supplies 20.99
Photo Supplies 1,234.20
Multilayer Supplies 2,529.98
Dril] Room Supplies 52.85
Print Room Supplies 363.88
Plating Room Supplies 1,838.07

 

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As Of September ,2021

Current Year
Current Month

 

Screening Room Supplies (19,06)
PISM Room Supplies 2,364.58
Shipping Supplies 2,110.07
Quality A/C Supplies 6,553.05
Electrical Test Supplies 43.36
Waste Treatment Supplies 4,552.00
Wet Lab Supplies 20.95
Other Production Supplies 3,077.67
24,742.59

Production Equipment
Screening Room Equipment 99.00
99.00

Other Production Expenses

Qvertime Premium 912.16
Fringe - Direct Labor 29,967.18
Health & Safety 1,793.70
Travel 395.71
Meals & Entertainment 104.35
Uniforms - Cintas 1,441.23
Shop Forms 175.39
Expedited Material Expense 591.55
Tariff charges 72,00
LDI Maintenance Agreemnt 12,000.00
CimNet Software Maint Contract 5,725.32
Genists Maintenance Cortract 1,255.50
Freight-In 20,667.16
Freight In - Germany 756.89
Freight-Petroleum Surcharge 268.58
Freight-Hazardous Fee 60.92
Freight-Handling Charge 65.00
Freight-Out 4,710.24
Q/Cc Callibration 355.00
Celtic GML-3691A01 Lease 2,230.00
Celtic OML-3691A02 lease 2,578.00
Celtic GML-3691A03 Tease 2,959.00
Tetra Financial Group lease 18,483.56
Celtic CML-3691A04 Lease 6,899.00
Alliance Lease 8,462.10
Other Production Expense 471.89
123,401.43

Repairs & Maintenance
Air Compressors 1,775.25
HVAC System North Plant 290.00
Other Building R & M 2,056.63
4.0.1. Discovery 1 82.50
4.0.1. Discovery 2 82.50
Processor 411.69
TMP Multilayer Press #2 110.00
Pi11 CabraBond Oxide Line 952 4,592.84
March Plasma Unit 154.51
CNC5-B Drill (S/N 001) 650.00
Drilling Machine Parts 213.93
OLEC AT-30 (6KW) 990.00
PTH Plating Line 828.96
M.E. Baker Copper Line 933.42
Chemcut Dry Film Stripper 7.23
Etch/Tin Strip Line (ME Baker) 2,461.20
ENIG Line 711.80
Direct Metalization 1,120.89

 

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Current Year
Current Month

 

 

DES Line (s/n CC450-30) 1,492.40
Other Wet Lab R&M 159.99
Union Carbide Photocure System 268.00
Pumice Scrubber 1,200.00
Routing Machine Parts 63.05
Mark VI CNC-6 Router(s/n 0174) §3.10
Mark VI CNC-6 Router(s/n 6611) 750.00
Culligan RO/OI System 1,666.81
23,126.70
Other Maintenance Expense
Tools 261.00
Suppltes 788.88
Janitorial Supplies 1,295.20
Trash Disposal 1,306.59
Grounds Upkeep 832.50
Housekeeping . 3,500.00
Other Maintenance Expense 474,92
8,459.09
Environment & Waste
Licenses & Fees 2,818.00
Waste Recovery 9,325.45
12,133.45
Utilities
flectric 49,912.12
Gas (3,803.77)
Water 8,597.43
Sewer 6,241.42
60,947.20
Building Expense
Real Estate Tax 4,285.71
4,285.71
Depreciation
Depreciation 38,571.43
38,571.43
609,474.43
Gross Profit (12,942.27)

 

Operating Expenses
Sales Expenses

Selling Salaries 3,246.85
Fringe Benefits 3,013.29
6,260.14

G&A Salaries and Fringe
Administrative Salaries 15,487.03
Accounting Salaries 15,719.68
MIS Salaries 8,650.74
QA Salaries 11,464.46
Fringe Benefits 9,604.03
60,925.94

Fringe

Vacation 15,000.00
Holiday Pay 10, 800.00

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Electrotek Corporation

income Statement

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Current Year
Current Month

 

FICA - Employer

UC - Federal

uc - State

Life AD&D

LTD Premiums

Cost of Health Insurance
Insurance Fees From Employees
Worker's Compensation

401k Company Match

Fringe Benefit Offset

Office Supplies

Copier Lease

Telephone Expense - G&A
Postage Meter Rental
Other Office Supplies

MIS Expenses

Human

MIS Software

MIS Hardware

MIS Repairs & Maintenance
MIS Subscriptions

Resources Expenses

Payroll - ADP

Recruitment Advertising

Drug Testing

Other Human Resources Expense
Technical Library Materials

Administrative Costs

Audit & Tax Service

Sales Discounts

Legal Fees

Consulting

Business Insurance

Sales Tax

Manthly Bank Fees

Other Administrative Costs

Operating Income

Other Income/ Expenses
Interest Expense

Other

 

Interest Exp - Shareholder

Expenses
Gain of Forgiveness of Debt

15,553.57
13.73
164.01
96.95
1,072.90
27,500.00
(10,712.04)
849.57
686,41
(61,025.10)

00

1,185.75
958.27
296.41
205.78

2,646.21

11,275.47
769.12
8,516.00
5,414.00

25,974.59

1,278.53
1,396.00
246.00
129.40
87.00

3,136.93
3,085.71
121.20
3,085.71
635.64
17,038.86
5,123.49
206.50
28,992.14
58,289.25
157,233.06
(170,175.33)
(65,125.00)
(65,125.00)

1,188, 252.00

1,188, 252.00

1,123,127.00

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Electrotek Corporation

income Statement

As Of September, 2021

 

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As Of September, 2021

Current Year
Current Month

 

 

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Net Income Before Tax 952,951.67 yy %, 6 C9
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Net Income 952,951.67 c oA
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Cash Requirements Statement

 

ELECTROTER CORPORATION

Client: AI2! EIN: 20- 1452778

Transaction #; DSDE4A2 |
Check Date: 09/23/2021

PAY COM Impound Date: 09/22/2021
$103,808.32 should be wired to Paycom an or before 09/21/2021]

 

Htems

Checks / Vouchers
Additional Direct Deposit Accounts

Billing
Check Processing/Tax Service
Direct Deposit
Delivery
Total Billing

Tax Deposits
FICA/Social Security

Medicare

Federal W/H Tax

FUTA

Wisconsin W/H-SemiMthly
Wisconsin SUTA

Total Tax Deposits

Paycom Cash Requirements

Net Direct Deposits - Paycom Pay

Direct Deposit Distribution - Paycom Pay
Taxes ~ PAYCOM Resp.

Payroll Fee

Garnishment Checks - Paycom Pay

Total Paycom Cash Requirements

Total Cash Requirements

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74
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610,31
9,50
8.50
628.31
Employee Employer Total
Deductions Liability Deposit
6.256.45 6,256.45 12.512.90
1,463.18 1,463.18 2.926.36
7778.85 TTT8.85
6.93 6.93
4904.43 4,904.43
54.45
20,402.91 7,781.01

 

 

70.023. 94
2,857.76
28.1 83.92

628.31
211439
. 103,808.32

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Cash Requirements Siatement

 

Transaction #; 7] D861638

Check Date: 09/69/202 |

PAYCOM. Impound Date: 09/08/2021

$105,293.94 should be wired to Paycom on or before 0907/2021

ELECTROTEK CORPORATION

Client: Al21 BIN: 20- 1452778

 

 

 

 

Tiemis
Checks / Vouchers 75
Additional Direct Deposit Accounts 10)
Billing
Check Processing/Tax Service 615.27
Direct Deposit 9.50
Delivery 8.50
Additional Services 16.95
Total Billing 650.22
| ee = —— sane — sro
Tax Deposits Deductions Liability Deposit
FICA/Social Security 6,349.04 6,349.04 12,698.08
Medicare 1484.90 1,484.90 2,969.80
Federal W/H Tax 7.795.86 7,795.86
FUTA 6.80 6.80
Wisconsin W/H-SemiMthly 4.934 58 4,934.58
Wisconsin SUTA 109.56 W256
Total Tax Deposits 20,564.38 7,950.30 (28,514.68 }
Paycom Cash Requirements
Net Direct Deposits - Paycom Pay 71,097.52
Direct Deposit Distribution - Paycon: Pay 2.886. 14
Taxes - PAYCOM Resp. 28.5 14.68
Payroll Fee 630.22
Gamushment Checks - Paycom Pay - 2,145.38
105,293.94

Total Paycom Cash Requirements

Total Cash Requirements

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